 WWR# 040023265

                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DISTRICT


 IN RE:                                          )    CASE NO. 17-17361
                                                 )
   RICHARD M OSBORNE                             )    CHAPTER 13
                                                 )
           DEBTOR                                )    JUDGE ARTHUR I. HARRIS
                                                 )
                                                 )

 LIMITED RESPONSE OF ERIEBANK TO TRUSTEE’S FIRST MOTION FOR ENTRY
   OF ORDER AUTHORIZING AND APPROVING SALE OF EQUITY INTERESTS
                           (DOCKET #1194)


          Now comes ErieBank, by and through counsel and for its Limited Response to Trustee’s

 First Motion for Entry of Order Authorizing and Approving Sale of Equity Interests (docket #1194)

 states as follows:

   1.     ErieBank is the holder of a mortgage, which was executed and delivered by Achievement,

          Ltd., as to real property located at 6730-6738 Center Street, Mentor, Ohio which mortgage

          was recorded on August 23, 2016 as Instrument No. 2016R021902 with the Lake County

          Recorders Office.

   2.     ErieBank’s mortgage secures a Promissory Note, dated August 23, 2016, which was

          executed by Tatonka Oil Company, LLC, which loan is in default.

   3.     ErieBank has initiated a Foreclosure action upon the Note and Mortgage in the Lake County

          Court of Common Pleas.




17-17361-aih      Doc 1204      FILED 07/14/22       ENTERED 07/14/22 10:58:33        Page 1 of 29
  4.   Trustee has filed a Motion for Entry of Order Authorizing and Approving Sale of Equity

       Interests (docket #1194), which includes a purported equity interest of Richard M. Osborne

       in Achievement, Ltd.

  5.   ErieBank is filing this Limited Response to put potential purchasers on notice as to the

       existence of its lien upon real property owned by Achievement, Ltd and to put potential

       purchasers on notice as to the pending foreclosure action, wherein Achievement, Ltd is

       named as a Defendant. A copy of the Complaint for Foreclosure is attached as Exhibit

                                            WELTMAN, WEINBERG & REIS CO., L.P.A.


                                                /s/ Scott D. Fink
                                               Scott D. Fink (0069022)
                                               Attorney for ERIEBANK
                                               Weltman, Weinberg & Reis Co., L.P.A.
                                               965 Keynote Circle
                                               Cleveland, OH 44131
                                               216-739-5644
                                               sfink@weltman.com




17-17361-aih   Doc 1204       FILED 07/14/22     ENTERED 07/14/22 10:58:33          Page 2 of 29
                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 14, 2022 a true and correct copy of the foregoing Limited

 Response of ErieBank to Trustee’s First Motion for Entry of Order Authorizing and Approving

 Sale of Equity Interests (docket #1194) was served:

        Via the court’s Electronic Case Filing System on these entities and individuals who are

 listed on the court’s Electronic Mail Notice List:


 Kari B. Coniglio, Trustee at kbconiglio@vorys.com

 Gregory M. Dennin, Attorney for Debtor at greg@gmdlplaw.com

 Office of the U. S. Trustee


 and by regular U.S. Mail, postage prepaid, to:


 RICHARD M OSBORNE
 7020 Williams Rd
 Concord, OH 44077




                                                   /s/ Scott D. Fink
                                                  Scott D. Fink (0069022)
                                                  Attorney for ERIEBANK
                                                  Weltman, Weinberg & Reis Co., L.P.A.
                                                  965 Keynote Circle
                                                  Cleveland, OH 44131
                                                  216-739-5644
                                                  sfink@weltman.com




17-17361-aih     Doc 1204      FILED 07/14/22         ENTERED 07/14/22 10:58:33     Page 3 of 29
01213467789 9 0
  !! 32" #$%2$01%&'3($)" 99  *9 '+

                                                                Exhibit A




           17-17361-aih     Doc 1204     FILED 07/14/22       ENTERED 07/14/22 10:58:33   Page 4 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 5 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 6 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 7 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 8 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 9 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 10 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 11 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 12 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 13 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 14 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 15 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 16 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 17 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 18 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 19 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 20 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 21 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 22 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 23 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 24 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 25 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 26 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 27 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 28 of 29
17-17361-aih   Doc 1204   FILED 07/14/22   ENTERED 07/14/22 10:58:33   Page 29 of 29
